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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     4:16CR3038

       vs.
                                                                         ORDER
OSCAR J. GARCIA,

                       Defendants.


       Defendant has moved for an order allowing him to live with his mother. (Filing No. 52).
During his pretrial services interview, Defendant denied having any contact with his mother.


       Defendant has a significant history of domestic abuse and violence, including a felony
conviction for attempted murder. And within a year after serving his sentence for that crime,
Defendant was convicted on charges of felon in possession of a firearm. Even if the court was
convinced that release to a third party custodian could sufficiently ameliorate the risk of flight if
Defendant was released, Defendant’s release would pose a substantial risk of harm to others–
particularly to pretrial officers responsible for monitoring Defendant’s compliance, and to any
third party custodian who reported and attempted to report Defendant’s failure to comply with
court-imposed release conditions.


       Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion for review of detention, (Filing No. 52), is denied.

       2)      For the reasons stated in the court’s prior order of detention, (Filing No. 39),
               defendant shall remain detained pending trial.

       March 31, 2016,
                                                      BY THE COURT:
                                                      s/ Cheryl R. Zwart
                                                      United States Magistrate Judge
